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 7                              UNITED STATES DISTRICT COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

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10   UNITED STATES OF AMERICA,                                Case No.. C~(~ 12 -- 0~j 2-7 —(1Vv
11                        Plaintiff,

12             vs.                                            ORDER OF DETENTION AFTER HEARING
                                                                [Fed. R. Crim. P. 32.1(a)(6);
13                                                               18 U.S.C. § 3143(a)]

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   Zai~ ~~ ~~ I NJa.~~ ~~                         ~~
                         Defendant.
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18          The defendant having been arrested in this District pursuant to

19   a    warrant    issued    by       the   United          States   District   Court     for   the

20   ~~~'d~ ~~~~`, ~~t~~~~l►4             for alleged violations)               of the terms and

21   conditions of       i\ /her [probation]                  ~(s pervised release    and

22          The Court having conducted a detention hearing pursuant                                to

23 i~ Federal Rule of Criminal Procedure 32.1 (a) (6) and 18 U.S.C. § 3143 (a) ,

24          The Court finds that:

25   A.     (~ The defendant has not mete"" --er burden of establishing by

26          clear and convincing evidence that ~e/she is not likely to flee

27         if released under 18 U.S.C. § 3142 (b) or (c) .                        This finding is

28          based on u (I,e.a eel, ~~    ~~I~I o ~,~ r~e d~3fi~~C~' (,~~0 .~P.M~NI ~351~
     Case 2:12-cr-00527-GW Document 1035 Filed 08/02/23 Page 2 of 2 Page ID #:11560




 1             rp,~e~S    -f~c~ ~ ~o sea f~sul-(i       i~   luc~t~~~' r~ elec~'bn ~
 2          wrovU~-i~tq , v~tde~ -~a.ls~ ~avn~
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 4         and/or

 5   B.    (     The defendant has not me       his/her burden of establishing by

 6         clear and convincing evidence tha~/she is not likely to pose

 7         a danger to the safety of any other person or the community if

 8         released under 18 U.S.C. § 3142(b) or (c). This finding is based
                                           _        .~
 9         on:                                              d

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14         IT THEREFORE IS ORDERED that the defendant be detained pending

15   the further revocation proceedings.

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17   Dated:     ~~~ ~j L~~~
                                                J AN ROSENBLUTH
18                                              U.S. MAGISTRATE JUDGE

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